        Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 1 of 22




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________________
                                          :
IN RE: AVANDIA MARKETING, SALES           :
PRACTICES AND PRODUCTS LIABILITY          :   MDL No. 1871
LITIGATION                                :
                                          :   Case No. 07-md-01871
This Document Relates To:                 :
                                          :
All Third Party Payor Actions             :
_________________________________________ :

                                       MEMORANDUM OPINION

Rufe, J.                                                                                    September 3, 2020

         Plaintiffs, United Food and Commercial Workers Local 1776 and Participating

Employers Health and Welfare Fund and J.B. Hunt Transport Services, Inc. (collectively, “the

Plans”), filed suits against GlaxoSmithKline LLC (“GSK”) alleging violations of the Racketeer

Influenced and Corrupt Organizations Act (“RICO”) and various state consumer protection laws

in connection with the marketing of Avandia.1 These actions were incorporated into the In re

Avandia Marketing, Sales Practices and Products Liability Multi-District Litigation (“MDL”). In

connection with a motion for summary judgment that has since been resolved, certain documents

were filed under seal pursuant to a pretrial protective order. The issue before the Court is

whether those documents should remain sealed. The Court previously declined to unseal most of

the documents; the Plans appealed those rulings; and the Third Circuit vacated and remanded for




1
  There were originally four third party payor actions to be considered here. These cases were brought by: (1) Allied
Services Division Welfare Fund (“Allied”) (Civil Action No. 09-730); (2) United Benefit Fund (“UBF”) (Civil
Action No. 10-5419); (3) UFCW Local 1776 and Participating Employers Health and Welfare Fund (“UFCW”)
(Civil Action No. 10-2475); and (4) J.B. Hunt Transport Services, Inc. (“J.B. Hunt”) (Civil Action No. 11-4013).
However, the claims asserted by Allied and UBF have been voluntarily dismissed with prejudice. See Doc. Nos.
5033 & 5041. Therefore, the Court will consider GSK’s motion with respect to the actions brought by UCFW and
J.B. Hunt.
            Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 2 of 22




further consideration.2 GSK now moves to maintain the confidentiality of specific documents

pursuant to the Third Circuit’s instructions. For the following reasons, GSK’s motions will be

granted in part and denied in part.

       I.       BACKGROUND

            The MDL was created based on “allegations that certain diabetes drugs manufactured by

GSK – Avandia and/or two sister drugs containing Avandia (Avandamet and Avandaryl) – cause

an increased risk of heart attack and other physical injury, and that GSK failed to provide

adequate warnings concerning that risk.”3 The Plans filed suit on behalf of a proposed

nationwide class of health benefit providers that had paid for Avandia. In 2008, the Court entered

Pretrial Order No. 10 (“PTO 10”), which governed discovery of confidential materials in the

MDL.4 In 2016, GSK moved for summary judgment as to the Plans’ consumer protection claims

based on federal preemption, and on the RICO claims based on the failure to identify a distinct

RICO enterprise. As part of the summary judgment briefing, the parties filed documents under

seal pursuant to PTO 10, and neither party objected at the time. In late 2017, the Court granted

GSK’s motion for summary judgment.5

            The Plans appealed and stated that they would seek to unseal certain documents to

include them in the Joint Appendix for appeal. GSK then filed two motions before this Court to

maintain the seal as to certain documents.6 The Court granted in part and denied in part both


2
    See In re Avandia Mktg., Sales Practices & Prod. Liab. Litig., 924 F.3d 662 (3d Cir. 2019).
3
    Doc. No. 1 at 2. All of the cases in the MDL asserting claims of personal injury have been resolved.
4
    Doc. No. 138.
5
 See Doc. No. 5152, vacated and remanded, In re Avandia Mktg., Sales & Prod. Liab. Litig., 945 F.3d 749 (3d Cir.
2019).
6
 Doc. Nos. 5192 & 5207. The Expert Report, Supplemental Expert Report, and Declaration, of John D. Abramson,
as well as the Third Party Payor Plaintiffs’ Response to Defendant’s Proposed Statement of Undisputed Fact, were
all included in the first motion. See Ex. A, GSK’s Motion to Preserve Confidentiality of Designation of Certain
Documents [Doc. No. 5192-1].



                                                            2
          Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 3 of 22




motions.7 The Plans appealed and the Court of Appeals vacated and remanded “this matter to

permit the District Court to conduct a detailed review of the challenged documents by applying

the proper standard for accessibility under the common law.”8

           On August 5, 2019, GSK filed a Motion for the Continued Sealing of Certain

Documents.9 In this motion, GSK moved to maintain three documents under seal:

           1) Expert Report of John David Abramson, M.D.;10
           2) Supplemental Expert Report of John Abramson;11 and
           3) Declaration of John D. Abramson MD, MSC, Regarding GSK’s Motion for
              Partial Summary Judgment on Preemption.12

GSK also moved the Court for the disclosure of redacted versions of a host of documents

identified in an attached exhibit in order to protect the privacy interests “of study subjects, GSK

employees, and other individuals as required by the European Union’s General Data Protection

Regulation, and European Medicines Agency Policy 0070.”13

           On November 4, 2019, GSK filed a Motion for the Continued Sealing of the Expert

Reports of Donald Austin, Eliot Brinton, and Brian Swirsky.14 In this motion, GSK moved to

maintain five documents under seal:

           1) Plaintiff Steering Committee’s Generic Expert Report of Donald Austin;15



7
    Doc. Nos. 5201 & 5220.
8
 In re Avandia, 924 F.3d at 679 (citing Leucadia, Inc. v. Applied Extrusion Techs., Inc., 998 F.2d 157, 167 (3d Cir.
1993)).
9
  Doc. No. 5259. In a Joint Status Report filed pursuant to a Court Order, the parties identified 24 documents that
GSK no longer sought to keep under seal. See Doc. No. 5262-1. Therefore, on August 27, 2019, the Court ordered
the Clerk of Court to unseal those documents. See Doc. No. 5267.
10
     Ex. 146 to the Decl. of Thomas Sobol filed July 1, 2016 [Doc. No. 4907].
11
     Ex. 147 to the Decl. of Thomas Sobol filed July 1, 2016 [Doc. No. 4907].
12
     Ex. 148 to the Decl. of Thomas Sobol filed July 1, 2016 [Doc. No. 4907].
13
     Doc. No. 5259.
14
     Doc. No. 5285.
15
     Ex. 149 to the Decl. of Thomas Sobol filed July 1, 2016 [Doc. No. 4907].



                                                           3
             Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 4 of 22




             2)   Plaintiff Steering Committee’s Generic Expert Report of Eliot A. Brinton;16
             3)   Supplemental Expert Statement of Eliot A. Brinton;17
             4)   Plaintiff Steering Committee’s Generic Expert Report of Brian Swirsky;18 and
             5)   Plaintiff Steering Committee’s Generic Supplemental Expert Report of Brian
                  Swirsky.19

             The Plans oppose both motions, except as to specific redactions of personal information

of study subjects and employee telephone numbers, addresses, and ending of email addresses.

Pursuant to the mandate of the Court of Appeals, the Court has considered GSK’s arguments as

to each of the contested documents.20

       II.        LEGAL STANDARD

             There are “three distinct standards when considering various challenges to the

confidentiality of documents.”21 First, the factors articulated in Pansy v. Borough of

Stroudsburg22 apply to the confidentiality of discovery materials pursuant to Federal Rule of

Civil Procedure 26.23 Second, “the more rigorous common law right of access [applies] when

discovery materials are filed as court documents. In addition to recognizing fewer reasons to

justify the sealing of court records, the public right of access—unlike a Rule 26 inquiry—begins




16
     Ex. 150 to the Decl. of Thomas Sobol filed July 1, 2016 [Doc. No. 4907].
17
     Ex. 151 to the Decl. of Thomas Sobol filed July 1, 2016 [Doc. No. 4907].
18
     Ex. 152 to the Decl. of Thomas Sobol filed July 1, 2016 [Doc. No. 4907].
19
     Ex. 153 to the Decl. of Thomas Sobol filed July 1, 2016 [Doc. No. 4907].
20
  As will be discussed below, to overcome the presumption of access, GSK has made the same argument for all of
the expert reports: that the unsealing of the expert reports will lead to harmful results for current Avandia patients.
Similarly, GSK’s argument for its requested redactions is that the harm it will face in the form of penalties under EU
law outweighs the common law presumption of access. Therefore, the Court will balance each claimed harm against
the presumption of access and the public’s interest in openness. See In re Avandia, 924 F.3d at 677 (quoting
Leucadia, 998 F.2d at 167) (explaining “that careful factfinding and balancing of competing interests is required
before the strong presumption of openness can be overcome by the secrecy interests of private litigants”).
21
     In re Avandia, 924 F.3d at 670; see also Purcell v. Gilead Scis., Inc., 415 F. Supp. 3d 569, 573 (E.D. Pa. 2019).
22
     23 F.3d 772, 783–92 (3d Cir. 1994).
23
     See In re Avandia, 924 F.3d at 670.



                                                             4
           Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 5 of 22




with a presumption in favor of public access.”24 Third, “the First Amendment right of public

access attaches to, inter alia, civil trials.”25

           Rule 26(c) permits the Court to enter a protective order to shield a party “from

annoyance, embarrassment, oppression, or undue burden or expense.”26 “A protective order may

apply to all litigation materials—not just those filed in court—because ‘[c]ourts have inherent

power to grant orders of confidentiality over materials not in the court file.”’27 “The District

Court ‘must balance the requesting party’s need for information against the injury that might

result if uncontrolled disclosure is compelled.’”28 “The proponent of the protective order

shoulders ‘[t]he burden of justifying the confidentiality of each and every document sought to

be’ sealed” and “must demonstrate that ‘good cause’ exists for the order.”29 “Good cause means

‘that disclosure will work a clearly defined and serious injury to the party seeking closure. The

injury must be shown with specificity.’”30 In deciding whether good cause exists, the Court’s




24
     Id. (citing Goldstein v. Forbes (In re Cendant Corp.), 260 F.3d 183, 192–93 (3d Cir. 2001)).
25
     Id. (citing Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1061 (3d Cir. 1984)).
26
     Fed. R. Civ. P. 26(c)(1).
27
     In re Avandia, 924 F.3d at 671 (quoting Pansy, 23 F.3d at 785).
28
     Id. (quoting Pansy, 23 F.3d at 787).
29
     Id. (quoting Pansy, 23 F.3d at 786–87).
30
 Id. (quoting Pansy, 23 F.3d at 786). The Third Circuit has set forth a non-exhaustive list of factors that a court
may consider when determining if good cause exists:
           1) whether disclosure will violate any privacy interests;
           2) whether the information is being sought for a legitimate purpose or for an improper purpose;
           3) whether disclosure of the information will cause a party embarrassment;
           4) whether confidentiality is being sought over information important to public health and safety;
           5) whether the sharing of information among litigants will promote fairness and efficiency;
           6) whether a party benefitting from the order of confidentiality is a public entity or official; and
           7) whether the case involves issues important to the public.
Glenmede Tr. Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995) (citing Pansy, 23 F.3d at 787–91).



                                                             5
           Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 6 of 22




analysis “should always reflect a balancing of private versus public interests” and “should

articulate on the record findings supporting its decision to grant or deny a protective order.”31

            “Analytically distinct from the District Court’s ability to protect discovery materials

under Rule 26(c), the common law presumes that the public has a right of access to judicial

materials. In both criminal and civil cases, a common law right of access attaches ‘to judicial

proceedings and records.’”32 “Whether the common law right of access applies to a particular

document or record ‘turns on whether that item is considered to be a “judicial record.”’”33 “A

‘judicial record’ is a document that ‘has been filed with the court . . . or otherwise somehow

incorporated or integrated into a district court’s adjudicatory proceedings.’”34 Thus, “documents

filed in connection with a motion for summary judgment are judicial records” with a

“presumptive right of public access.”35

            Because the “strong presumption of openness does not permit the routine closing of

judicial records to the public . . . [t]he party seeking to overcome the presumption of access bears

the burden of showing ‘that the interest in secrecy outweighs the presumption.’”36 “The movant

must show ‘that the material is the kind of information that courts will protect and that disclosure

will work a clearly defined and serious injury to the party seeking closure.’”37

            “To overcome that strong presumption, the District Court must articulate ‘the compelling,

countervailing interests to be protected,’ make ‘specific findings on the record concerning the


31
     In re Avandia, 924 F.3d at 672 (internal quotation and citations omitted).
32
     Id. (quoting In re Cendant Corp., 260 F.3d at 192).
33
     Id. (quoting In re Cendant Corp., 260 F.3d at 192).
34
     Id. (quoting In re Cendant Corp., 260 F.3d at 192).
35
     Id. (citations omitted).
36
  Id. (quoting Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir. 1994); Bank of Am. Nat. Tr. & Sav. Ass’n v. Hotel
Rittenhouse Assocs., 800 F.2d 339, 344 (3d Cir. 1986)).
37
     Id. (quoting Miller, 16 F.3d at 551).



                                                             6
           Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 7 of 22




effects of disclosure,’ and ‘provide[] an opportunity for interested third parties to be heard.”’38

“In delineating the injury to be prevented, specificity is essential.”39 “Broad allegations of harm,

bereft of specific examples or articulated reasoning, are insufficient.”40 “[C]areful factfinding

and balancing of competing interests is required before the strong presumption of openness can

be overcome by the secrecy interests of private litigants.”41 “To that end, the District Court must

‘conduct[] a document-by-document review’ of the contents of the challenged documents.”42

              Finally, there is the First Amendment. Although “the public and the press have a First

Amendment right of access to civil trials,”43 it is an “open question in this Circuit whether the

First Amendment right of access applies to records of summary judgment proceedings.”44

However, a First Amendment right of access is evaluated under strict scrutiny and “requires a

much higher showing than the common law right [of] access before a judicial proceeding can be

sealed.”45

       III.      DISCUSSION

              A. Applicable Standard of Law

              Although the Court of Appeals instructed the Court to apply the common law right of

access on remand,46 in both motions, GSK argues that the expert reports are not “judicial

records” to which the common law right of access applies because they were not competent to be


38
     Id. at 672–73 (quoting In re Cendant Corp., 260 F.3d at 194).
39
     Id. at 673 (quoting In re Cendant Corp., 260 F.3d at 194)
40
     Id. (quoting In re Cendant Corp., 260 F.3d at 194).
41
     Id. at 673 (quoting Leucadia, Inc. v. Applied Extrusion Techs., Inc., 998 F.2d 157, 167 (3d Cir. 1993)).
42
     Id. (quoting Leucadia, 998 F.2d at 167).
43
     Id. (citing Publicker, 733 F.2d at 1070).
44
     Id.
45
     Id. at 673 (quoting In re Cendant Corp., 260 F.3d at 198 n.13).
46
     See id. at 669.



                                                             7
          Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 8 of 22




considered on summary judgment.47 Specifically, GSK asserts that the expert reports were not

sworn to under penalty of perjury; and that the Austin, Brinton & Swirsky Reports “were written

in 2010” and therefore “were irrelevant by the time GSK filed its motion in 2016.”48

           GSK’s argument relies on the initial premise that if the documents had an evidentiary

defect at the time the summary judgment motion was decided, then they are not “judicial

records.”49 Although GSK recognizes that when ruling on its appeal regarding the sealing of

almost all of these very expert reports the Third Circuit held that “documents filed in connection

with a motion for summary judgment are judicial records,”50 GSK nonetheless asserts that a

different Third Circuit case, North Jersey Media Group Inc. v. United States,51 “explains that the

test is more nuanced.”52 GSK relies on language from North Jersey suggesting that the relevance


47
 GSK does not dispute that the requested redactions are subject to the common law right of access. See GSK’s
Mem. Supp. Mot. for Continued Sealing [Doc. No. 5259] at 18 (“The disclosure of personal data, and particularly
medical information, is precisely the type of harm that overcomes the public’s right to access judicial records.”).
48
   GSK’s Mem. of Law in Supp. of Mot. for the Continued Sealing of the Expert Reports of Austin, Brinton, and
Swirsky [Doc. No. 5285] at 4–7. The Plans explain that at summary judgment they argued that GSK misrepresented
Avandia’s cardiovascular profile, promoting the drug as cardio-protective when it actually carried significant
cardiovascular risk, and that the expert reports were relevant to the question of “[w]ould the plaintiffs have
purchased Avandia had GSK been honest about the drug’s cardiovascular profile?” Pls.’ Mem. in Opp. to GSK’s
Motion for the Continued Sealing of the Expert Reports of Austin, Brinton, and Swirsky [Doc. No. 5289] at 6. GSK
responds that this question was not relevant to the actual issues at summary judgment, including “whether plaintiffs’
cardiovascular benefits claims were part of their case from the beginning.” GSK’s Reply in Supp. of its Mot. for the
Continued Sealing of the Expert Reports of Austin, Brinton, and Swirsky [Doc. No. 5293] at 2. However, at
summary judgment, the Court explained that “[t]he crux of Plaintiffs’ claims is that GSK concealed information
about Avandia’s cardiovascular risk by stating that the product was safe and effective for patients, and that but for
this concealment, Plaintiffs would not have included Avandia on their formularies.” Doc. No. 5152 at 4. Therefore,
whether GSK concealed information about Avandia, and whether Plaintiffs would have purchased Avandia absent
GSK’s misrepresentations, was directly relevant to Plaintiffs’ arguments.
49
  The Plans have now submitted a declaration from Dr. Abramson properly swearing under penalty of perjury to the
information in his three reports. See Ex. A to the Decl. of Thomas Sobol in Supp. of Pls.’ Resp. in Opp. to GSK’s
Motion for Continued Sealing [Doc. No. 5270-1] at 4–5.
50
  GSK’s Mem. Supp. Mot. for Continued Sealing [Doc. No. 5259] at 5 n.17 (quoting In re Avandia, 924 F.3d at
672). Only the Supplemental Expert Statement of Eliot A. Brinton was not included in Plaintiffs’ Response to
Defendant’s Proposed Statement of Undisputed Fact and in GSK’s motions that the Third Circuit ruled on. See Pls.’
Mem. in Opp. to GSK’s Motion for the Continued Sealing of the Expert Reports of Austin, Brinton, and Swirsky
[Doc. No. 5289] at 3–4. This report will be discussed below.
51
     836 F.3d 421 (3d Cir. 2016).
52
     GSK’s Mem. Supp. Mot. for Continued Sealing [Doc. No. 5259] at 5 n.17.



                                                          8
           Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 9 of 22




and usefulness of a document are part of the analysis:

            [T]he issue of whether a document is a judicial record should turn on the use the
            court has made of it rather than on whether it has found its way into the clerk’s
            file. To be considered a judicial record, to which the common law right of access
            properly attaches, the item filed must be relevant to the performance of the
            judicial function and useful in the judicial process in order for it to be designated
            a judicial document.53

However, the dispute in North Jersey concerned the disclosure of a letter identifying an

unindicted coconspirator sent to a judge’s chambers by a prosecutor on the case.54 The court

concluded that because “the letter in question is a part of the general discovery process, it is not

subject to any First Amendment or common law right of public access.”55 Here, by contrast, the

documents in question are court filings supporting the summary judgment briefing. Thus, North

Jersey does not provide any basis for the Court to disregard the Third Circuit’s holding, in an

appeal in this litigation concerning these same documents, that “documents filed in connection

with a motion for summary judgment are judicial records.”56

            Moreover, a party cannot “litigate on remand issues that were not raised in a party’s prior

appeal and that were not explicitly or implicitly remanded for further proceedings.”57 Here, as


53
     N. Jersey, 836 F.3d at 436 (internal quotations and citations omitted).
54
     See id. at 424–26.
55
     Id. at 425.
56
   In re Avandia, 924 F.3d at 672 (citation omitted). Moreover, even if the Third Circuit adhered to a rule limiting
the common law right of access to admissible evidence, such a rule would only apply to situations where a court
“excluded the documents from consideration.” In re Policy Mgmt. Sys. Corp., 67 F.3d 296, at *4 (4th Cir. 1995).
Otherwise, documents which the District Court potentially relied upon in reaching its decision would be shielded
from public view––thus contravening the purpose of the common law right of access. See In re Avandia, 924 F.3d at
672. Here, GSK did not object to the inclusion of the expert reports until after the Court ruled on the summary
judgment motion and, as the Plans argue, defects in affidavits are waived when no objections are made. See St.
Marys Area Water Auth. v. St. Paul Fire & Marine Ins. Co., No. 04-1593, 2007 WL 1412240, at *6 (M.D. Pa. May
11, 2007) (collecting cases). Therefore, even if GSK is correct that the expert reports were not relevant and were not
sworn to under penalty of perjury pursuant to 28 U.S.C. § 1746, its failure to object before the Court’s summary
judgment decision means that the documents were before the Court when the Court rendered its decision. See
Washington v. Bruraker, No. 02-106, 2015 WL 6673177, at *4 (W.D. Va. Mar. 29, 2015) (“[T]he mere fact that
these documents had been submitted as substantive support for the motion was sufficient to make them judicial.”).
57
     Skretvedt v. E.I. DuPont De Nemours, 372 F.3d 193, 203 (3d Cir. 2004).



                                                             9
          Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 10 of 22




the Plans argue, the Third Circuit’s mandate clearly established that the common law right of

access applies to the expert reports filed in connection with GSK’s motion for summary

judgment, and GSK waived the issue that the Abramson Reports are not judicial records.

           The “mandate rule” provides that “on remand for further proceedings after [a] decision

by an appellate court, the trial court must proceed in accordance with the mandate and the law of

the case as established on appeal.”58 As the Plans argue, the Court of Appeals held that:

           It is undisputed that each of the challenged documents are “judicial records”
           subject to the common law right of access because the parties filed the documents
           on the District Court’s public docket in support of, or in opposition to, GSK’s
           motion for summary judgment . . . As such, the District Court was obligated to
           apply the exacting common law right of access standard, including the “strong
           presumption” of access, before granting GSK’s motions for continued
           confidentiality.59

           GSK argues that “[a] district court may consider, as a matter of first impression, those

issues not expressly or implicitly disposed of by the appellate decision,”60 and that the Court of

Appeals “did not explicitly reject GSK’s argument that the Abramson reports were not properly

part of the summary judgment record and thus not judicial records covered by the common law

right of access.”61 Instead, GSK argues that when “the Third Circuit instructed the Court to

‘conduct a detailed review of the challenged documents by applying the proper standard for

accessibility under the common law,’”62 the Third Circuit “implicitly requir[ed] the

Court to determine whether the Abramson reports were properly part of the summary judgment




58
     United States v. Kennedy, 682 F.3d 244, 252–53 (3d Cir. 2012) (internal quotation marks and citations omitted).
59
     In re Avandia, 924 F.3d at 675 (citation omitted).
60
  GSK’s Reply Mem. in Supp. of its Motion for the Continued Sealing of Certain Documents [Doc. No. 5275] at 2
(quoting Skretvedt, 372 F.3d at 203 n.13).
61
  Id. at 2–3. The Court notes that the Court of Appeals likely did not address this argument because, as explained
below, GSK failed to properly raise it.
62
     Id. at 3 (quoting In re Avandia, 924 F.3d at 679).



                                                           10
           Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 11 of 22




record.”63 However, the Court declines to read an implicit requirement into the Third Circuit’s

mandate that contradicts its explicit directives. The Court of Appeals mandated that this Court

conduct a document-by-document review and determine whether the presumption of access

under the common law can be rebutted––nowhere does the mandate allow the Court to determine

that the presumption of access should not be applied. For this reason as well, the Court will apply

the common law right of access to the expert reports included in the Third Circuit’s mandate.

            Furthermore, “an issue is waived unless a party raises it in its opening brief, and for

those purposes a passing reference to an issue will not suffice to bring that issue before [the

appellate] court.”64 The Plans assert that in its prior appeal to the Third Circuit, GSK failed to

raise the argument that the Abramson Reports were not judicial records because they were not

sworn to under oath.65

            GSK points to two places in its appellate brief, as well three parts of the oral argument

before the Third Circuit, where it supposedly raised the argument that the Abramson Reports are

not “judicial records.”66 GSK’s appellate brief did not actually raise this issue, however, and the

alleged references at oral argument do not suffice.67 As an initial matter, both of GSK’s



63
     Id.
64
  Skretvedt, 372 F.3d at 202–03 (quoting Laborers’ Int’l Union v. Foster Wheeler Corp., 26 F.3d 375, 398 (3d Cir.
1994)).
65
     The Plans do not appear to make this argument regarding the other expert reports.
66
  GSK’s Reply Mem. in Supp. of its Motion for the Continued Sealing of Certain Documents [Doc. No. 5275] at 2
n.2 (citing Brief of Appellee GlaxoSmithKline LLC, In re: Avandia Mktg., Sales Practices & Prods. Liab. Litig.,
No. 18-2259, at 4 n.3, 23–24 & n.9 (Nov. 28, 2018) (Doc. No. 003113097075) (“GSK Appellate Brief”); Mar. 6,
2019 Argument Tr. at 14:1–15, 15:8–15, 29:15–30:3).
67
   Skretvedt, 372 F.3d at 203 (quoting Laborers’ Int’l Union., 26 F.3d at 398); see also Montrose Med. Grp.
Participating Sav. Plan v. Bulger, 243 F.3d 773, 783 (3d Cir. 2001) (holding that an argument was waived “because
it was raised for the first time at oral argument.”); In re Stone & Webster, Inc., 558 F.3d 234, 247 n.15 (3d Cir.
2009). Moreover, GSK’s references at oral argument appear to argue that the Abramson Reports are not relevant,
see, e.g., Mar. 6, 2019 Argument Tr. at 15:12–15:15 (“[T]he plaintiffs submitted as an exhibit to that summary
judgment motion and they’re saying now is public because of that, is a 700-page expert report that has no
evidentiary value by any means”), not that the failure to include a sworn declaration rendered them inadmissible.



                                                           11
       Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 12 of 22




references to the Abramson Reports in its appellate brief appear in footnotes and “arguments

raised in passing (such as, in a footnote), but not squarely argued, are considered waived.”68

Moreover, neither footnote raised the argument that, because Abramson failed to provide a

proper sworn declaration, the reports are not judicial records. The first footnoted reference

attacks the contents of the reports; it does not make the argument that the reports were not sworn

to.69 The second footnoted reference came in the context of GSK arguing that the First

Amendment does not apply to the reports; GSK does not make the argument that the reports

were not sworn to and that therefore the common law right of access does not apply.70 Therefore,

because 1) expert reports filed in connection with summary judgment are judicial records; 2) the

Third Circuit’s mandate requires that the Court apply the common law right of access to these

reports; and 3) GSK waived its argument that the Abramson Reports are not judicial records, the

Court will apply the common law right of access to these expert reports. However, because

Plaintiffs concede that the Supplemental Expert Statement of Eliot A. Brinton is not a judicial

record because it was not part of the summary judgment record or included in GSK’s motions

that the Third Circuit ruled on, the Court will apply the good cause standard of Rule 26 to this

report.

          B. Application of the Confidentiality Standards to the Expert Reports

          “The scale is tipped at the outset in favor of access” to the expert reports filed in

connection with summary judgment in order to “promote public confidence in the judicial


68
  John Wyeth & Bro. Ltd. v. CIGNA Int’l Corp., 119 F.3d 1070, 1076 n.6 (3d Cir. 1997) (citing Commonwealth of
Pa. v. HHS, 101 F.3d 939, 945 (3d Cir. 1996)).
69
  See GSK Appellate Brief at 4 n.3 (“Notably, Plaintiffs want to unseal hundreds of pages of expert reports of John
Abramson, which selectively quote and mischaracterize the other documents at issue in an effort to undermine
FDA’s comprehensive and well-reasoned analysis of the relevant materials.”).
70
  See id. at 24 n.9 (“Here, not only have the documents at issue not been admitted but some – e.g., the hearsay
expert reports of John Abramson (SA-0665, SA-1195) – are not even admissible.”).



                                                         12
          Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 13 of 22




system; diminish possibilities for injustice, incompetence, perjury, and fraud; and provide the

public with a more complete understanding of the judicial system and a better perception of its

fairness.”71

            In arguing that it has overcome the presumption as to all of the expert reports, GSK

maintains that unsealing the reports “will jeopardize the health of current Avandia patients by

eroding their trust in their doctors’ prescribing decisions.”72 According to GSK, “[t]he Abramson

Reports are replete with inaccurate, incomplete, and biased representations that would mislead

the public about the safety and efficacy of Avandia”73 and the Austin, Brinton, and Swirsky

Reports “on their own are fundamentally misleading in that . . . they fail to account for the

current state of the science concerning Avandia’s safety” and “are replete with inaccurate,

incomplete, and biased representations that would mislead the public about the safety and

efficacy of Avandia.”74 GSK argues that it has an interest in keeping the reports sealed because

disseminating the allegedly incorrect information in the reports will mislead patients who are still

being prescribed Avandia, and cause these patients to “stop their current course of medication

without informing their doctor, which in turn will result in adverse outcomes for many of those

patients.”75 In support, GSK points to a study in Diabetes Research and Clinical Practice that




71
     In re Avandia, 924 F.3d at 677 (cleaned up).
72
  GSK’s Mem. Supp. Mot. for Continued Sealing [Doc. No. 5259] at 16; GSK’s Mem. of Law in Supp. of Motion
for the Continued Sealing of the Expert Reports of Austin, Brinton, and Swirsky [Doc. No. 5285] at 14. The Court
notes that this is not a harm that GSK itself will suffer. GSK may suffer loss of profits and embarrassment––neither
of which are sufficient to overcome the common law presumption of access. See In re Avandia, 924 F.3d at 676
(“But we have repeatedly said that concern about a company’s public image, embarrassment, or reputational injury,
without more, is insufficient to rebut the presumption of public access.”) (citation omitted).
73
     GSK’s Mem. Supp. Mot. for Continued Sealing [Doc. No. 5259] at 11.
74
  GSK’s Mem. of Law in Supp. of Motion for the Continued Sealing of the Expert Reports of Austin, Brinton, and
Swirsky [Doc. No. 5285] at 10.
75
     Id. at 11.



                                                         13
           Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 14 of 22




found that 19.4% of patients who discontinued Avandia in 2007 were not taking any antidiabetic

drug six months later.76

            Even assuming that GSK is correct about the alleged inaccuracies in the reports, it has not

met its “burden of showing that the material is the kind of information that courts will protect

and that disclosure will work a clearly defined and serious injury to the party seeking closure”77

because “[s]ealing must be based on current evidence to show how public dissemination of the

pertinent materials now would cause the . . . harm.”78 The study GSK cites is “[o]utdated”79

because it was conducted to determine the effect of the “[c]onsiderable public attention”

generated by the association of Avandia with heart conditions and a 2007 FDA safety alert.80

Thus, the study showed that after the news first broke that a medication taken by many

Americans potentially had a life-threatening side effect, 53.3% of people stopped taking it, and

19.4% of those people (about 10% of the people included in the study) were not taking an

antidiabetic six months later.81

            GSK’s attempt to impute the findings of this study to the potential effect of unsealing the

expert reports at issue here fails for two reasons. First, GSK assumes that the unsealing of expert

reports about old news will make the same splash as the original safety alert. The uproar

surrounding the original allegations that Avandia could cause adverse health conditions, and that

“GSK buried bad study results, misrepresented the truth about Avandia’s cardiovascular profile


76
 See id. (citing Ex. F to Decl. of Alexander R. Cobitz, GSK’s Mot. for the Continued Sealing of Certain
Documents [Doc. No. 5259-6] at 51).
77
     In re Cendant Corp., 260 F.3d at 194 (internal quotation marks and citation omitted).
78
     In re Avandia, 924 F.3d at 678 (quoting In re Cendant Corp., 260 F.3d at 196).
79
     Id.
80
 See Ex. F to Decl. of Alexander R. Cobitz, GSK’s Mot. for the Continued Sealing of Certain Documents [Doc.
No. 5259-6] at 49.
81
     Id. at 51.



                                                           14
           Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 15 of 22




to doctors and pharmacy benefit managers, and reaped billions of dollars in profits” was

massive. 82 As the Court of Appeals summarized, “[l]awsuits ensued, the United States Food and

Drug Administration (“FDA”) investigated, and even the United States Senate Finance

Committee released a report revealing GSK’s misdeeds.”83 Even if, as GSK asserts, “[m]edia

outlets will likely report on the release” of the expert reports,84 it is highly unlikely that the

release of these expert reports “rehashing events that played out long ago” will be a front-page

news story.85 Most likely, significantly fewer people will become aware of the release of these

reports compared with the publicity surrounding the original safety alert.

            Second, even if current Avandia patients learn about the release of the expert reports, it

has now been more than thirteen years since the public found out about the potential side effects

of Avandia. Most people currently taking Avandia (who number far fewer now than in 2007) are

likely already aware of the allegations about Avandia––from conversations with their doctor,

friends, family, or the news––and have made a considered choice to take it.86 In fact, it is hard to

imagine that doctors currently prescribing Avandia have not discussed the risks with their

patients. Thus, GSK has shown no likelihood that upon learning about the contents of these

expert reports, current Avandia patients will suddenly stop taking the drug without consulting a

doctor and without substituting another antidiabetic.87 Taking these two factors together, it is


82
     In re Avandia, 924 F.3d at 669.
83
     Id.
84
  GSK’s Mem. of Law in Supp. of Motion for the Continued Sealing of the Expert Reports of Austin, Brinton, and
Swirsky [Doc. No. 5285] at 11.
85
     GSK’s Mem. Supp. Mot. for Continued Sealing [Doc. No. 5259] at 14.
86
  The set of people taking Avandia who are currently oblivious to the explosive allegations about its risks and will
learn about the unsealing of expert reports in this MDL is likely miniscule.
87
  Moreover, as GSK’s expert declared, “[d]octors prescribe medications to their patients based on their professional
judgment, after weighing the risks and benefits of the medication for that particular patient” using the available
“clinical data and other scientific information.” Decl. of Alexander R. Cobitz, GSK’s Mot. for the Continued Sealing
of Certain Documents [Doc. No. 5259-6] at 2. Therefore, assuming that the expert reports are out of date and


                                                         15
          Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 16 of 22




implausible that unsealing these documents would endanger patients. In sum, the dated study that

GSK cites does not demonstrate that disclosure of these expert reports now “will work a clearly

defined and serious injury to the party seeking closure.”’88 Therefore, GSK has limited “secrecy

interests” in the expert reports.89

            At the same time, in this long-running MDL “implicat[ing] the public’s trust in a well-

known and (formerly) widely-used drug,” the interests the common law is meant to protect “are

particularly important.”90 The interest of promoting “public confidence in the judicial system”

demands that information filed in a case impacting such a large segment of the public be readily

available.91 In such a complex and lengthy case “the very openness of the process should provide

the public with a more complete understanding of the judicial system and a better perception of

its fairness.”92 Therefore, upon balancing the common law presumption of access against GSK’s

alleged “factor[] militating against access,” GSK has failed to meet its burden to maintain the

expert reports filed in connection with its motion for summary judgment under seal.93

            Moreover, GSK has not met its burden under Rule 26 to justify the continued sealing of

the Supplemental Expert Statement of Eliot A. Brinton. There is no confidential material in this


incorrect, doctors will be able to determine this and inform their patients––especially considering that GSK can
release the reports of their own experts demonstrating the inaccuracy of the reports at issue here. C.f. Whitney v.
California, 274 U.S. 357, 377 (1927) (Brandeis, J., concurring) (“If there be time to expose through discussion the
falsehood and fallacies, to avert the evil by the processes of education, the remedy to be applied is more speech, not
enforced silence.”), overruled in part by Brandenburg v. Ohio, 395 U.S. 444 (1969) (per curiam).
88
     In re Cendant Corp., 260 F.3d at 194 (quoting Miller, 16 F.3d at 551).
89
     In re Avandia, 924 F.3d at 673 (quoting Leucadia, 998 F.2d at 167).
90
     Id. at 677.
91
     Leucadia, 998 F.2d at 161 (quoting Westinghouse, 949 F.2d at 660).
92
     Id. (quoting Westinghouse, 949 F.2d at 660).
93
  In re Cendant Corp., 260 F.3d at 194 (quoting Leucadia, 998 F.2d at 165). Accordingly, the Court need not decide
whether the First Amendment right of access applies to these documents. See In re Avandia, 924 F.3d at 680 (“If on
remand the District Court concludes that any of the sealed documents merits continued confidentiality under the
common law right of access, then the Court should also consider the parties’ arguments regarding the First
Amendment right of public access.”



                                                           16
         Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 17 of 22




report and the issues involved are important to the public, both in terms of the public’s interest in

open proceedings and in public health and safety.94 Moreover, the Court has determined that the

other challenged expert reports, including Brinton’s original report, must be unsealed pursuant to

the common law right of access, and there is no indication that the unsealing of this particular

report would cause GSK any separate harm. Therefore, the public interest in disclosure

outweighs GSK’s private interest in confidentiality.

           C. Application of the Common Law Right of Access to the Requested Redactions

           Exhibit D to GSK’s Motion for Continued Sealing contains a list of 55 documents––

including clinical studies, GSK submissions to the FDA, internal GSK emails and letters, records

of teleconferences between GSK and the FDA, Avandia presentations and plans, and some court

filings in the MDL––that GSK asserts “contain the names, emails, phone numbers, addresses,

identification numbers, and other personal information of study subjects, GSK employees, and

third-party individuals, which must be redacted to protect their privacy rights under European

Union (‘EU’) law.”95 Although GSK is a United States entity, its parent, GlaxoSmithKline plc, is

registered in England and Wales, and has affiliates throughout the EU. GSK’s argument is

essentially that EU regulations provide a basis to overcome the presumption of access because

“data transmitted to the parent company or submitted to European regulators is subject to

European privacy laws,” including European Medicines Agency (EMA) Policy 0070 and the



94
     See Glenmede, 56 F.3d at 483 (citing Pansy, 23 F.3d at 787–91).
95
   GSK’s Mem. Supp. Mot. for Continued Sealing [Doc. No. 5259] at 16. Specifically, GSK argues that “study
subjects’ pseudonymized identification numbers . . . date and month of birth; subject event or assessment dates when
the study day is present; investigator names and geographic locations of investigator sites; names, initials,
signatures, email, phone/fax number, and staff ID numbers for GSK, vendor, and other company personnel, except
the names and initials of signatories to clinical documents; the signature, email, phone/fax number, site/investigator
identifier, name, initials, organizational title and department, institutional website URL, address, and curriculum
vitae of the investigator and site staff; and the name, initials, signature, email, phone/fax number and staff ID of
other individuals” should be redacted. Id. at 19–20.



                                                          17
         Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 18 of 22




EU’s General Data Protection Regulation (GDPR).96 Therefore, GSK argues that the harm

justifying the redactions is the “effective, proportionate and dissuasive” penalties it would be

subject to under EU law.97

           As an initial matter, the parties dispute whether GSK waived this argument too. The

Plans argue that GSK’s appellate brief does not mention European Union law while GSK argues

that its brief extensively argued that these documents should be redacted.98 Because the Court of

Appeals directed this Court to “conduct a detailed review of the challenged documents by

applying the proper standard for accessibility under the common law,” the Court will consider

GSK’s argument that EU law requires redaction despite the common law presumption of

access.99

           Federal Rule of Procedure 44.1 controls the application of foreign law in federal court

and provides:

           A party who intends to raise an issue about a foreign country’s law must give
           notice by a pleading or other writing. In determining foreign law, the court may
           consider any relevant material or source, including testimony, whether or not
           submitted by a party or admissible under the Federal Rules of Evidence. The
           court’s determination must be treated as a ruling on a question of law.100



96
     GSK’s Mem. Supp. Mot. for Continued Sealing [Doc. No. 5259] at 17.
97
   GSK’s Reply Mem. in Supp. of its Motion for the Continued Sealing of Certain Documents [Doc. No. 5275] at 6
(quoting Regulation (EU) 2016/679 of the European Parliament and of the Council of 27 April 2016 on the
protection of natural persons with regard to the processing of personal data and on the free movement of such data,
and repealing Directive 95/46/EC (General Data Protection Regulation), OJ 2016 L 119/1, at 84(1), available at
https://gdprinfo.eu/).
98
     See GSK Appellate Br. at 34–35, 51.
99
   In re Avandia, 924 F.3d at 679 (citing Leucadia, 998 F.2d at 167). GSK originally only argued that its obligation
to comply with EU law provides sufficient basis to overcome the presumption of access. Only in subsequent briefing
did GSK supplement its argument to rest on the harm it would suffer in the form of monetary penalties under EU
law. As explained below, however, regardless of form, GSK’s argument is unavailing.
100
   Fed. R. Civ. P. 44.1; see also Animal Sci. Prods., Inc. v. Hebei Welcome Pharm. Co. Ltd., 138 S. Ct. 1865, 1869–
70 (2018); Bel–Ray Co., Inc. v. Chemrite Ltd., 181 F.3d 435, 440 (3d Cir. 1999) (“This rule provides courts with
broad authority to conduct their own independent research to determine foreign law but imposes no duty upon them
to do so.”). “Under Rule 44.1, it is the responsibility of the party seeking application of foreign law to ‘carry both
the burden of raising the issue that foreign law may apply in an action, and the burden of adequately proving foreign


                                                         18
          Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 19 of 22




With regard to the disputed proposed redactions, the Plans assert 1) that the EMA and GDPR do

not apply to this information and 2) that, even if they do, U.S. law takes precedence over the EU

regulations.

           Even if the EMA and GDPR would otherwise apply, the information at issue here falls

outside the scope of the regulations. EMA Policy 0070 only applies to “clinical data submitted to

the Agency” after January 1, 2015, and all of the clinical data in these cases were published

before that date.101 Similarly, the GDPR did not take effect until May 25, 2018.102 As the Court

granted GSK’s motion for summary judgment on December 7, 2017, any actions by GSK with

regard to the documents occurred before the GDPR took effect. Thus, because GSK would not

be subject to penalties under EU law, its limited “secrecy interests” in the disputed requested

redactions cannot overcome the strong presumption of access that applies in this case.103

           The Court notes that even if the EU regulations did apply to the disputed documents,

American law must take precedence here. In the analogous context of the production of

discovery, “the United States Supreme Court expressly stated that a foreign statute does ‘not

deprive an American court of the power to order a party subject to its jurisdiction to produce

evidence even though the act of production may violate that statute.’”104 “Rather, in this

scenario, the Court employs a comity analysis . . . to weigh ‘the interests of the United States and


law to enable the court to apply it in a particular case.”’Incubadora Mexicana, SA de CV v. Zoetis, Inc., 116 F. Supp.
3d 519, 526 (E.D. Pa. 2015) (quoting Bel–Ray, 181 F.3d at 440).
101
   European Medicines Agency, Clinical Data Publication, https://www.ema.europa.eu/en/human-
regulatory/marketing-authorisation/clinical-data-publication (last visited September 1, 2020).
102
   European Commission, Data protection in the EU, https://ec.europa.eu/info/law/law-topic/data-protection/data-
protection-eu_en (last visited September 1, 2020).
103
      In re Avandia, 924 F.3d at 673 (quoting Leucadia, 998 F.2d at 167).
104
   AstraZeneca LP v. Breath Ltd., No. 08-1512, 2011 WL 1421800, at *11 (D.N.J. Mar. 31, 2011) (quoting Societe
Nationale Industrielle Aerospatiale v. United States District Court for the Southern District of Iowa, 482 U.S. 522,
544 n.29 (1987)).



                                                          19
            Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 20 of 22




the party seeking discovery against the foreign state’s interest in secrecy.’”105 “[A] court may,

within its discretion, deny comity . . . if it finds that the extension of comity ‘would be contrary

or prejudicial to the interest of the’ United States.”106

             The United States has a deep interest in preserving the common law right of access,

which “antedates the Constitution.”107 “The underpinnings of the . . . common law right[] of

access are historical experience and societal utility.”108 As explained above, the right serves the

weighty interests of promoting “public confidence in the judicial system”; diminishing

possibilities for “injustice, incompetence, perjury, and fraud”; and providing the public with a

“more complete understanding of the judicial system and a better perception of its fairness.”109

As the Third Circuit explained, these “interests are particularly important in a case such as this

one, which implicates the public’s trust in a well-known and (formerly) widely-used drug.”110

These interests are especially acute when it comes to the specific documents at issue because the

information GSK seeks to redact includes records submitted to the FDA, the federal agency

tasked with protecting the public from harmful drugs, by a U.S. corporation concerning the

regulation of a drug in this country.111 Therefore, even if the regulations otherwise could be


105
   In re Mercedes-Benz Emissions Litig., No. 16-881, 2020 WL 487288, at *6 (D.N.J. Jan. 30, 2020). “International
comity is ‘the recognition which one nation allows within its territory to the legislative, executive, or judicial acts of
another nation, having due regard both to international duty and convenience, and to the rights of its own citizens or
of other persons who are under protection of its laws.’” In re Nazi Era Cases Against German Defendants Litig., 129
F. Supp. 2d 370, 386 (D.N.J. 2001) (quoting Hilton v. Guyot, 159 U.S. 113, 143 (1895)).
106
   Phila. Gear Corp. v. Phila. Gear de Mexico, S.A., 44 F.3d 187, 191 (3d Cir. 1994); see also Somportex Ltd. v.
Philadelphia Chewing Gum Corp., 453 F.2d 435, 440 (3d Cir. 1971); In re Nazi Era Cases, 129 F. Supp. 2d at 387
(“[D]omestic courts should withhold comity only when its acceptance would be contrary or prejudicial to the
interest of the United States.”).
107
      Bank of Am., 800 F.2d at 343.
108
      United States v. Smith, 776 F.2d 1104, 1114 (3d Cir. 1985).
109
      In re Avandia, 924 F.3d at 677 (quoting Littlejohn v. Bic Corp., 851 F.2d 673, 678 (3d Cir. 1988)).
110
      Id.
111
   The Court also notes that considering the broad scope of the GDPR, GSK’s argument could allow all U.S.
corporations with a presence in the EU to render the right of access a nullity.



                                                            20
          Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 21 of 22




determined to apply, the extension of comity would be contrary or prejudicial to the interest of

the United States.112 Because there is no basis in U.S. law to overcome the strong presumption of

access to judicial records113 other than a privacy interest in certain personal information that

Plaintiffs do not object to redacting,114 GSK’s motion will be granted only to that limited extent.

       IV.      CONCLUSION

             Justice Brandeis famously declared that “sunlight is the most powerful of all

disinfectants.”115 Considering the common law presumption of public access, the lack of harm

GSK will face, the significance of this litigation, and the number of people affected, light must

shine on these documents. Therefore, for the reasons stated above, GSK’s Motion for the

Continued Sealing of Certain Documents will be granted only as to the redaction of personal

information of study subjects and employee telephone numbers, addresses, and the ending of

email addresses and otherwise denied, and GSK’s Motion for the Continued Sealing of the



112
      See Phila. Gear Corp., 44 F.3d at 191.
113
    At the very end of its memorandum, in a single sentence, GSK makes its only non-EU law argument and states
that “[n]ot only does EU law clearly set forth the need to protect individuals’ privacy rights, but GSK employees
have been identified and targeted in acts of violence and terroristic threats because of their employment at GSK
GSK’s Mem. Supp. Mot. for Continued Sealing [Doc. No. 5259] at 20. In an attached affidavit, GSK links to three
news articles about animal rights activists targeting GSK executives. See Decl. of Tamsin Sargood, Ex. G to GSK’s
Mot. for Continued Sealing of Certain Documents [Doc. No. 5259-7] at 3 n.5. However, the most recent of those
articles is from over 14 years ago, see id., and the Third Circuit has explained that “[o]utdated evidence . . . is
insufficient to overcome the presumption of public access” because sealing must be based on current evidence
showing how public dissemination would now cause harm. In re Avandia, 924 F.3d at 678.
114
    See Moore v. CVS RX Servs., 660 F. App’x 149, 153 n.4 (3d Cir. 2016) (“In light of the District Court’s treatment
of the medical information and because in this instance, the right to privacy outweighs the public’s right of access to
materials filed in litigation, we grant CVS’s motion for leave to file those records under seal.”). The Plans do not
object to the redaction of personal information of study subjects or “employee telephone numbers, addresses, or the
ending of email addresses.” Pls.’ Mem. Opp. to GSK’s Mot. for Continued Sealing of Certain Documents [Doc. No.
5269] at 16. Therefore, the Court will grant GSK’s request that this information––in the documents listed in Exhibit
D to GSK’s Motion for Continued Sealing and in the Abramson Reports––be redacted. See GSK’s Mem. Supp. Mot.
for Continued Sealing [Doc. No. 5259] at 13 n.41 (“Even if the Court holds that the Abramson Reports should not
be excluded in their entirety, they should be redacted to protect individuals’ privacy interests.”). Moreover, because
the Plans do not dispute redacting this information, there is no need to determine whether the First Amendment
applies to these documents.
115
   N.Y. Times Co. v. Sullivan, 376 U.S. 254, 305 (1964); see also PG Pub. Co. v. Aichele, 705 F.3d 91, 111 (3d Cir.
2013).



                                                          21
      Case 2:07-md-01871-CMR Document 5322 Filed 09/03/20 Page 22 of 22




Expert Reports of Donald Austin, Eliot Brinton, and Brian Swirky will be denied. An order will

be entered.




                                              22
